                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


In re:                                                 Case No. 24-47922-tjt

Heritage Collegiate Apparel, Inc. f/k/a                In Proceedings Under
M-Den, Inc., d/b/a The M Den                           Chapter 11

                                                       Hon. Thomas J. Tucker
                     Debtor.
                                          /

         EX-PARTE MOTION FOR AN EXPEDITED HEARING
  ON DEBTOR’S MOTION FOR ENTRY OF AN ORDER (I) APPROVING
     LIDS HOLDINGS, INC., OR ITS DESIGNATED SUBSIDIARY AS
    STALKING HORSE BIDDER, (II) AUTHORIZING THE DEBTOR’S
        ENTRY INTO AN ASSET PURCHASE AGREEMENT, (III)
   AUTHORIZING THE SALE OF THE DEBTOR’S ASSETS FREE AND
  CLEAR OF ALL ENCUMBRANCES, (IV) APPROVING CERTAIN BID
       PROCEDURES, BID PROTECTIONS AND DEADLINES, (V)
                 SCHEDULING A SALE HEARING,
              AND (VI) GRANTING RELATED RELIEF

         Heritage Collegiate Apparel, Inc. f/k/a M-Den, Inc., d/b/a The M Den

(“Debtor”), by and through its proposed counsel, hereby file this Ex Parte Motion for

an Expedited Hearing (the “Expedited Hearing Motion”) on Debtor’s Motion for

Entry of an Order (I) Approving Lids Holdings, Inc., or its Designated Subsidiary as

Stalking Horse Bidder, (II) Authorizing the Debtor’s Entry Into An Asset Purchase

Agreement, (III) Authorizing The Sale of the Debtor’s assets Free and Clear of All

Encumbrances, (IV)      Approving Certain Bid Procedures, Bid Protections and

Deadlines, (V) Scheduling a Sale Hearing, And (VI) Granting Related Relief (the

{01072238.1}                                  1

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“Bid Procedures Motion”), states as follows:

                                    JURISDICTION

         1.    The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and

1334.

         2.    This matter is a core proceeding within the meaning of 28 U.S.C. §

157(b)(2).

         3.    Venue of this proceeding and the Expedited Hearing Motion in this

District is proper under 28 U.S.C. §§ 1408 and 1409.

         4.    The bases for the relief herein are section 105(a) of Title 11 of the

United States Code (the “Bankruptcy Code”)1, Federal Rules of Bankruptcy

Procedure (“FRBP”) 9006.

                                REQUEST FOR RELIEF

         5.    Debtor requests that this Honorable Court schedule a hearing on the Bid

Procedures Motion on or before Wednesday, September 4, 2024, so that it may be

heard in time to allow for an expedited sale process.


                                    BACKGROUND

         6.    On August 16, 2024 (the “Petition Date”), the above-captioned Debtor




1 All section references herein are references to sections of the Bankruptcy Code
unless indicated otherwise.
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commenced the above-captioned bankruptcy case (the “Case”) under Chapter 11 of

the Bankruptcy Code. See ECF No. 1.

         7.    As explained in detail in the Bid Procedures Motion, Debtor believes

that the sale of its assets on an extremely fast timeline will result in the highest

possible recover for Debtor and its estate.

         8.    Debtor is requesting that the entire sale process from the filing of the

Bid Procedures Motion through closing be only two and a half weeks, which Debtor

believes is justified under the circumstances.

         9.    Debtor recognizes that this is a very aggressive timeline, and the

creditors, the U.S. Trustee and the Court may take issues with this timeline, which

the Debtor is prepared to justify at the hearing.

         10.   However, for the Court to be able to consider whether this aggressive

timeline is in the best interest of the Debtor and its creditors, the hearing on the Bid

Procedures Motion must be conducted on an expedited basis.

         11.   If the Bid Procedures Motion is heard on ordinary notice, all of the

advantages of conducting the sale quickly as described in detail in the Bid

Procedures Motion (diminishing inventory and the University of Michigan’s front

loaded home game football schedule) will be lost before the matter is heard.




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                                  BASIS FOR RELIEF

         12.   Fed. R. Bankr. P. 9006(c)(1) authorizes this Court to shorten the notice

period for the Bid Procedure Motion for cause shown.

         13.   E. D. Mich. LR 9006-1(b) permits a court to enter an order on motion

of a party to reduce the time to take any action or file any paper. Under E. D. Mich.

LR 9006-1, the movant must attempt to obtain acquiescence of opposing counsel.

         14.   Debtor reached out to counsel for Debtor’s two largest secured creditors

and the U.S. Trustee it discuss this motion.

         15.   Additionally, the Potential Bidders have both agreed to the timelines

set forth in this Motion and the Bid Procedures Motion.

         16.   The Court has broad authority to regulate the form and manner of

notice. See 11 U.S.C. § 102(1); Fed. R. Bankr. P. 2002(m) and 9007.

         17.   In addition, section 105(a) grants bankruptcy courts broad authority and

discretion to enforce the provisions of the Bankruptcy Code either under specific

statutory grants or under equitable common law principles. Specifically, section

105(a) provides that, “[t]he court may issue any order, process, or judgment that is

necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a).

         18.   Further, Courts have the inherent authority to control their own dockets.

In re Nikron, Inc., 27 B.R. 733, 777 (Bankr. E.D. Mich. 1983).

         19.   Scheduling the Bid Procedures Motion on an expedited basis is the only


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way for this Court to be able to timely determine if the relief requested in that motion

should be granted.

         20.   Therefore, “cause” exists for an expedited hearing on the Bid

Procedures Motion.

                                        NOTICE

         21.   Because this Motion is being requested on an ex-parte basis, the Debtor

submits that notice is not necessary. Nevertheless, the Office of the United States

Trustee and those parties-in-interest that request service through this Court’s ECF

system are receiving notice of this Motion through this Court’s ECF System

(collectively, the “Notice Parties”).

         22.   Immediately after entry of an Order granting this Motion and

scheduling a hearing on the Bid Procedures Motion, the Debtor will serve the Order

via ECF, electronic mail, facsimile, or federal express for overnight delivery, as the

case may be, upon (i) the United States Trustee; (ii) all secured creditors; (iii) the

Debtor’s twenty (20) largest unsecured creditors; (iv) all parties that have requested

special notice pursuant to Bankruptcy Rule 2002; and (v) all other entities known to

have expressed an interest in a transaction with respect to all or part of the Assets.

Debtor will file a proof of service detailing same.

                                 NO PRIOR REQUEST
         23.   No previous request for the relief sought herein has been made to this


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Court or any other court.

         WHEREFORE, the Debtor respectfully requests that the Court enter an

order, substantially in the form attached as Exhibit A, scheduling a hearing on the

Bid Procedure Motion on Thursday, August 29, 2024, or as soon thereafter as the

Court’s docket will permit.




                                             Respectfully submitted,

                                             SCHAFER AND WEINER, PLLC

                                             /s/ Howard Borin
                                             KIM HILLARY (P67534)
                                             HOWARD BORIN (P51959)
                                             Proposed Attorneys for Debtor
                                             40950 Woodward Ave., Ste. 100
                                             Bloomfield Hills, MI 48304
                                             (248) 540-3340
 Dated: August 27, 2024                      khillary@schaferandweiner.com




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                                                                    EXHIBIT A


                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


In re:                                                 Case No. 24-47922-tjt

Heritage Collegiate Apparel, Inc. f/k/a                In Proceedings Under
M-Den, Inc., d/b/a The M Den                           Chapter 11

                                                       Hon. Thomas J. Tucker
                     Debtor.
                                          /

     ORDER GRANTING DEBTOR’S EX-PARTE MOTION FOR AN
 EXPEDITED HEARING ON ITS MOTION FOR ENTRY OF AN ORDER
    (I) APPROVING LIDS HOLDINGS, INC., OR ITS DESIGNATED
SUBSIDIARY AS STALKING HORSE BIDDER, (II) AUTHORIZING THE
 DEBTOR’S ENTRY INTO AN ASSET PURCHASE AGREEMENT, (III)
  AUTHORIZING THE SALE OF THE DEBTOR’S ASSETS FREE AND
 CLEAR OF ALL ENCUMBRANCES, (IV) APPROVING CERTAIN BID
       PROCEDURES, BID PROTECTIONS AND DEADLINES, (V)
                SCHEDULING A SALE HEARING,
             AND (VI) GRANTING RELATED RELIEF


         This matter is present upon Debtor’s Ex Parte Motion for an Expedited

Hearing (the “Expedited Hearing Motion”) on Debtor’s Motion for Entry of an

Order (I) Approving Lids Holdings, Inc., or its Designated Subsidiary as Stalking

Horse Bidder, (II) Authorizing the Debtor’s Entry Into An Asset Purchase

Agreement, (III) Authorizing The Sale of the Debtor’s assets Free and Clear of All

Encumbrances, (IV)      Approving Certain Bid Procedures, Bid Protections and




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Deadlines, (V) Scheduling a Sale Hearing, And (VI) Granting Related Relief

(“Expedited Hearing Motion”), and the Court being duly advised in the premises;

         NOW THEREFORE, IT IS HEREBY ORDERED that the Motion shall

come on for an in person hearing before the Honorable Thomas J. Tucker, on

September ____, 2024, at ______:_______, ___.m..

         IT IS FURTHER ORDERED that any objections to the relief sought in the

Debtor’s Motion for Entry of an Order (I) Approving Lids Holdings, Inc., or its

Designated Subsidiary as Stalking Horse Bidder, (II) Authorizing the Debtor’s

Entry Into An Asset Purchase Agreement, (III) Authorizing The Sale of the Debtor’s

assets Free and Clear of All Encumbrances, (IV)              Approving Certain Bid

Procedures, Bid Protections and Deadlines, (V) Scheduling a Sale Hearing, And

(VI) Granting Related Relief [DN 54] shall be filed no later than one day prior to

the hearing date. If no objection is filed the relief may be granted without a

hearing.

         IT IS FURTHER ORDERED that Debtor shall immediately serve this

Order via the Court’s ECF system, electronic mail, facsimile, or Federal Express

for overnight delivery, as the case may be, upon (i) the United States Trustee; (ii)

all secured creditors; (iii) the Debtor’s twenty (20) largest unsecured creditors; (iv)

all parties that have requested special notice pursuant to Bankruptcy Rule 2002;

and (v) all other entities known to have expressed an interest in a transaction with



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respect to all or part of the Assets, (vi) E&J Associates, LLC, and (vii) 315-317

SMS, LLC. The Debtor shall file a proof of serve evidencing same.




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